      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 1 of 25




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


MARIA CRAVES and FRANCISCO
MONTEIRO,
     Plaintiffs,


             V.                         C.A.   No.   15-12359-MLW



U.S. BANK,    N.A. AS TRUSTEE
and WELLS FARGO BANK,     N.A.,
     Defendants.

                          MEMORANDUM AND ORDER


WOLF, D.J.                                             September 26, 2018
I.   INTRODUCTION

     Plaintiffs Maria Chaves and Francisco Monteiro brought this

case against the defendants U.S. Bank, N.A. as Trustee ("U.S.
Bank") and Wells Fargo Bank, N.A. ("Wells Fargo") challenging the
defendants'       foreclosure     on   their    home     in   Marlborough,

Massachusetts. Plaintiffs obtained a refinancing loan from Wells

Fargo in September 2003.^ See Joint Stip. of Facts (Docket No. 40)
%2, In exchange for the loan, plaintiffs granted Wells Fargo a
mortgage on their property. See id. tUl, 3. Plaintiffs defaulted
on the loan by failing to make required payments. See id. 1|5. U.S.




^ The company that originated plaintiffs' loan was Wells Fargo Home
Mortgage, Inc. The parties stipulated that Wells Fargo is the
successor-in-interest to Wells Fargo Home Mortgage, Inc. S^ Joint
Stip. of Facts (Docket No. 40) 1|2. Accordingly, this Memorandum
and Order refers to both entities as "Wells Fargo."
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 2 of 25



Bank, as the mortgagee pursuant to an assignment executed in 2012,

sold the property at a foreclosure sale on April 24, 2015. See id.
11114, 6.2 Plaintiffs filed this action in state court shortly after,

on May 6, 2015, seeking primarily to unwind the sale. See id. 111116-
17.   It was   removed to this     court on the basis of         diversity

jurisdiction on June 17, 2015.

      The operative pleading, the First Amended Verified Complaint,
asserted    eight   claims    against    defendants    related    to    the
origination, servicing, and foreclosure of their mortgage loan.
See Docket No. 16 (Compl.). Plaintiffs were seeking, among other

things, an injunction, declaratory relief voiding the foreclosure
sale and awarding plaintiffs title to the property, and damages.^
The court dismissed Counts I, II, III, V, and VI on September 27,

2017, and simultaneously denied without prejudice plaintiffs'
request for leave to amend the complaint because they failed to



2 There is no challenge to U.S. Bank's standing to conduct the
foreclosure sale. The parties stipulated that U.S. Bank was the
"mortgagee" entitled to foreclose. Joint Stip. of Facts 1I1I2, 6;
see also Eaton v. Fed. Nat'l Mortg. Ass'n, 969 N.E.2d 1118, 1121
"(Mass. 2012) (holding that for foreclosures conducted pursuant to
the power of sale, where statutory notice of the sale was provided
after the date of this decision, the foreclosing entity must hold
the mortgage and also hold the note or be the agent of the
noteholder).

3 The First Amended Verified Complaint mislabeled Counts VI through
VIII by restarting the numbering on these counts at "IV."
Therefore, the court refers to the final three counts by their
correct numbers, i.e., Counts VI, VII, and VIII.
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 3 of 25



submit a memorandum as required by Local Rule 7.1(b) (1)                  for the

District of Massachusetts. See Docket No. 32 (Sept. 21, 2017 Order)

at 19. Plaintiffs subsequently withdrew Count VIII, see Joint Stip.

of Facts 1|22, and did not renew their request for leave to amend.

Therefore, only Counts IV and VII remain.

        Count IV claims defendants violated M.G.L. Chapter 244 §35A,

the terms of the mortgage contract, and M.G.L. Chapter 93A because

they allegedly failed to provide plaintiffs with notice of their
right     to   cure   their   default     before    foreclosing.    Therefore,
according to plaintiffs, the foreclosure sale is void. Count VII

claims     defendants    violated       M.G.L.     Chapter   244   §14,     which

establishes the notice requirements for conducting a foreclosure

by power of sale, because defendants did not properly announce
postponements of the foreclosure sale. Plaintiffs contend the
foreclosure sale is, therefore, void for this separate reason.

        Defendants have filed a Motion for Summary Judgment on both

remaining counts (the "Motion"), which plaintiffs oppose. For the
reasons explained in this Memorandum, the Motion is being allowed.
II.     ANALYSIS

        The court must grant summary judgment if "the movant shows
that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law." Fed. R. Civ.
P. 56(a). A fact is "material" if it "might affect the outcome of
the suit" in light of the relevant substantive law. Anderson v.
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 4 of 25



LibBirty Lobby*/   Inc./   477 U.S.   242,   247-48   (1986) . A disput©

concerning a material fact is "genuine" only if "the evidence is
such that   a   reasonable   jury could return a       verdict   for   the

nonmoving party. " Id. at 248; see also Chadwick v. WellPoint, Inc.,

561 F.3d 38, 43    (1st Cir. 2009).

     To obtain summary judgment, the movant "bears the initial

responsibility of informing the district court of the basis for
its motion, and identifying those portions of [the record] which

it believes demonstrate the absence of a genuine issue of material

fact." Celotex Corp v. Catrett,        477 U.S. 317,    323   (1986). The

movant can discharge its burden by "affirmatively demonstrat[ing] "
that "there is an absence of evidence to support the nonmoving

party's case." I^ at 325, 331-32. Once the movant does so, the
nonmoving party "must set forth specific facts showing there is a
genuine issue for trial." Anderson, 477 U.S. at 250; see Celotex,
477 U.S. at 322 & n.3. The court must view the record "in the light
most favorable to the nonmovant, drawing reasonable inferences in
his favor." Noonan v. Staples, Inc., 556 F.3d 20, 25 (1st Cir.
2009) (quotations omitted). "[T]he court's task is not to weigh
the evidence and determine the truth of the matter but to determine
whether there is a genuine issue for trial." Id.
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 5 of 25



    A. Failure to Provide Notice of Right to Cure and Derivative
       93A Claim (Count IV)

     Plaintiffs claim the foreclosure       sale is void because the

defendants failed to provide them with notice of their right to

cure the default, as required by Chapter 244 §35A and paragraph 22

of the mortgage contract. Furthermore, plaintiffs allege that this
failure to provide proper notice was an unfair and deceptive
business practice that violated Chapter 93A.

     The version of §35A in effect in May 2010 — which governs

because that is the date of the notice at issue - gave mortgagors

a 90-day right to cure a default before the full balance of their
mortgage note could be accelerated. See M.G.L. c. 244 §35A(a) (eff.
May 1, 2008) . It provided that the mortgagee cannot accelerate the
unpaid balance "or otherwise enforce the mortgage because of a
default" until at least 90 days after providing written notice to

the mortgagor. Id. §35A(b). The written notice had to contain
certain information, including the identity of the mortgagee, the

nature of the default, a statement that the mortgagor has a right

to cure, and the deadline for curing the default. See id. §35A(c).
Such notice is "deemed . . . delivered to the mortgagor . . • when

mailed to the mortgagor at the mortgagor's address last known to
the mortgagee." Id. §35A(b).

     However, as a threshold matter, violations of §35A cannot,

a^lone, void a foreclosure sale. In Flores v. OneWest Bank, F.S.B.,
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 6 of 25



the First Circuit affirmed dismissal of the plaintiff's claim that

a   foreclosure     sale    was   void    "because    it    was   carried out   in

violation of ... §35A. " 886 F.3d 160, 164-65 (1st Cir. 2018) . The

court explained that " [t] he claim that the sale is void because it
was    carried    out      in   violation     of     §35A   fails     because   the

[Massachusetts Supreme Judicial Court ('SJC')] held in Schumacher

that   an alleged violation of              that   statute does       not void a
foreclosure sale." Id. (citing U.S. Bank Nat'l Ass'n v. Schumacher,

5 N.E.3d 882,     890      (Mass. 2014)     (holding that violations of the

notice provisions in §35A cannot void a foreclosure sale because
the statute relates to "preforeclosure" proceedings)); see also

Fed. Nat. Mortg. Ass'n v. Carvalho, 29 N.E.3d 212, 212 (Mass. App.

Ct. 2015) ("Failure to comply with §35A is insufficient to void a
foreclosure unless a mortgagor can show that the noncompliance led

to fundamental unfairness in the entire foreclosure process.").
Therefore, the plaintiffs in this case cannot void the foreclosure
sale by relying on alleged violations of §35A, without more.
       Plaintiffs    also       rely on paragraph 22 of             their mortgage

contract. Paragraph 22 of the plaintiffs' mortgage states that
before accelerating the loan and invoking the statutory power of
sale, the lender must give the borrowers notice of the default and
their right to cure, in a manner substantially similar to that
required by §35A.               Defs. Mem. in Support of Mot. to Dismiss,
Ex. A (Docket No. 20-1) 1|22 (Mortgage) . However, in Flores, the
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 7 of 25



First Circuit held that the plaintiff's claim that the sale was

void "because it was carried out in violation of paragraph twenty-

two of the mortgage instrument, " which required the mortgagee to

provide notice of the default and right to cure, failed for the
same reason as the §35A claim. 886 F.3d at 165. Even though the

SJC has voided a foreclosure sale because the mortgagee did not

strictly comply with the same contractual notice provision, the
decision was expressly given "prospective effect only." Pinti v.
Emigrant Mortgage Co., 33 N.E.3d 1213, 1226-27 (Mass. 2015). As
the foreclosure sale in Flores occurred before the SJC decided

Pinti in July 2015, the First Circuit affirmed dismissal of the
plaintiff's claim that the foreclosure sale was void for violating
the contractual notice provision. See Flores,                886 F.3d at 165

(citing Pinti, 33 N.E.3d at 1226-27). Therefore, plaintiffs' claim
that the April 2015 foreclosure sale is void for violating the
notice requirement in paragraph 22 of their mortgage is not
i;][\0]fitorious   because   the   sale   was   conducted   before       was

decided.     See id.

       In any event, based on the evidence in the record, no genuine
dispute exists concerning defendants' compliance with the notice
requirements of either §35A or paragraph 22 of the mortgage.
Plaintiffs defaulted on their loan and defendants subsequently
foreclosed on the mortgage by auctioning their property on April
24, 2015. See Joint Stip. of Facts K1I5-6. Defendants have submitted
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 8 of 25



a letter dated May 16, 2010, addressed to Frank Monteiro at his
mortgaged property from Wells Fargo, that appears to be a right to
cure notice pursuant to §35A. See Smith Aff., Ex. B ("Right to

Cure Notice").   It states,    among other things,        that: Monteiro's

loan is in default; he has the right to cure the default by August

14, 2010; and if he fails to do so. Wells Fargo may accelerate his
loan and foreclose on the mortgage.           See id.   In addition.   Wells

Fargo's Vice President of Loan Documentation, Shae Smith, attested
that: "On or about[] May 16, 2010, Wells Fargo mailed to Plaintiffs
a notice to cure by regular mail through the United States Postal
Service, as required by G.L. c. 244, §35A." Smith Aff. 1|8.
     Plaintiffs do not dispute that the May 2010 Right to Cure

Notice,   if   delivered,     would       otherwise   satisfy   the    notice
requirements of §35A and the mortgage. Rather, plaintiffs' contend
that the Right to Cure Notice was never sent to them. See Pltfs.
Resp. to Def. Statement of Facts (Docket No. 52, Ex. A) 1l6.
However, viewing the evidence in the light most favorable to
plaintiffs, they have failed to raise a genuine dispute concerning
whether the Right to Cure Notice was ever "delivered." M.G.L. c.
244 §35A(b). Plaintiffs stipulated that their "only proof that
Defendants failed to send notice under G.L. c. 244, §35A is their
own testimony that they did not receive notice." Joint Stip. of
Facts 1126 (emphasis added). They state that: "Defendants never
sent us any notice under G.L. c. 244, §35A on or about May 16,

                                      8
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 9 of 25



[2010] providing the amount due to cure the default and outlining
the consequences of failure to cure the default. We know that is
the case as we never received them." Pltfs. Aff.         (Docket No. SI,

Ex. B) 1|8 (emphasis added)

     However, viewing the evidence in the light most favorable to

plaintiffs, this testimony is insufficient to raise a dispute of
material fact. In Biltcliffe v. CitiMortgage, Inc., Judge Dennis

Saylor held that     "plaintiff's sworn statement that he never
received the [notice of default] letters did not create an issue

of material fact, because the law did not require proof of receipt,

only of mailing." 952 F. Supp. 2d 371, 383 (D. Mass. 2013) (citing
2007 Mass. Ch. 206, §11, H.B. 4387 (enacting Chapter 244 §35A) ) .

The First Circuit affirmed Judge Baylor's decision and endorsed
this particular holding in dictum. See Biltcliffe v. CitiMortgage,
Inc., 772 F.3d 925, 931 n.3 (1st Cir. 2014). Therefore, this court
concludes that,    as Judge Saylor wrote,       "it is sufficient for
defendant [s] to prove that the letters were mailed; [they] need




^ Plaintiffs appear to have made a typographical error in their
affidavit where they state that defendants never sent, and
plaintiffs never received, a §35A notice in May 2016. See Pltfs.
Aff. ^8. That would have been after the foreclosure sale in April
2015, and after plaintiffs filed this lawsuit in May 2015.
Presumably plaintiffs meant to assert they never received the May
2010 §35A notice, which has been produced and discussed in this
litigation. See Smith Aff. (Docket No. 49-1) 1l8 &Ex. B (Right to
Cure Notice dated May 16, 2010) . There is no indication that there
is a second, subsequent §35A notice at issue.
     Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 10 of 25



not prove that they were delivered." Biltcliffe, 952 F. Supp. 2d
at 379-80. Similarly, in this case, defendants' evidence that the

Right to Cure Notice was mailed to the plaintiffs in May 2010 is
not put in genuine dispute by plaintiffs' sworn assertion that
they did not receive it. See id. at 383; see also Leonard v. PNC
Bank, NA, 2014 WL 1117990, at *13 (D. Mass. 2014)             (Gorton, J.)
(granting summary judgment for defendant on plaintiff's §35A
claim, where plaintiff had "no memory of receiving a default notice
and no   record of     receipt   in his    files,"     because defendant's

employees stated that it sent the notice).
     Therefore,   there is no genuine dispute concerning whether

defendants    mailed   the   May 2010     Right   to   Cure Notice   before

conducting the foreclosure sale. As a result,               no reasonable
factfinder could conclude that they failed to comply with §35A and

paragraph 22 of the mortgage.

     In addition, defendants are entitled to summary judgment on

plaintiffs'    Chapter 93A claim.^ It is based solely on the
allegation that defendants        failed to provide proper notice
pursuant to §35A and the mortgage, and that " [f]ailure to send
such notice is unfair and deceptive." Compl. 192. Such derivative




5 Plaintiffs do not mention their 93A claim or argue that it should
survive in their Opposition to defendant's Motion. See generally
0pp. (Docket No. 52).

                                    10
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 11 of 25



Chapter 93A claims cannot stand alone when the defendant is granted
judgment on the underlying substantive claim. See, e.g./ Galvin v.
U.S.    Bank Nat'l Ass'n/    2015 WL 8664207/     at *2    (D. Mass.      2015)

(Steams/ J.) (granting summary judgment for defendant on Chapter

93A claim because it was "derivative" of the meritless trespass

claim)/ aff'd/ 852 F.3d 146/ 165-66 (1st Cir. 2017); Park Drive

Towing/ Inc. v. City Of Revere/ 809 N.E.2d 1045/ 1050 (Mass. 2004)

(affirming summary judgment for defendant on "derivative" Chapter

93A     claim   based   on   alleged   "unfair    and   deceptive    conduct

surrounding the breach of contract/" because the court found no

contract existed);      Pembroke Country Club/      Inc.   v.   Regency Sav.

Bank/             815 N.E.2d 241/ 247 (Mass. App. Ct. 2004) (holding
that plaintiff's 93A claim was "wholly derivative of the tortious
interference claim"; therefore/ "the evidence being insufficient

to establish" tortious interference/ "it is likewise insufficient
to establish an unfair method of competition or an unfair or
deceptive act or practice"). Because plaintiffs' 93A claim is based
on their unmeritorious claim that defendants failed to provide
them notice of their default and right to cure as required by §35A

and the mortgage contract/ the 93A claim must fail as well.
        Therefore/   defendants are entitled to summary judgment on

Count    IV.




                                       11
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 12 of 25



     B. Failure to Provide Notice of Foreclosure Sale (Count VII)

     Plaintiffs claim the foreclosure sale is void for the separate

reason    that   defendants      failed         to   provide   proper   notice     of

foreclosure      sale    pursuant     to   M.G.L.       Chapter   244   §14.     More

specifically, plaintiffs contend the defendants did not properly
announce postponements of the foreclosure sale.

     If a mortgagee has provided the required notices of default,

and the mortgagor has failed to cure the default, the mortgagee is
authorized to foreclose pursuant to the statutory power of sale

found in M.G.L.         Chapter 183 §21. A foreclosure sale conducted

pursuant to the power of sale "must comply with all applicable
statutory provisions, including in particular G.L. c. 183, §21,
and G.L. c. 244, §14." Eaton, 969 N.E.2d at 1121. Chapter 183 §21

provides that the mortgagee may sell the property at public auction
if   it   complies       with   the   statutory         and contractual        notice
requirements for the sale. See id. Chapter 244 §14 creates various
requirements for providing notice to the mortgagors and the public
of the foreclosure sale, which may also be incorporated into the

mortgage contract. More specifically, §14 requires the mortgagee
to publish notice of the sale in a local newspaper three times,
"once in each of 3 successive weeks," the first of which must be

published "not less than 21 days before the sale." M.G.L. c. 244
§14 (eff. Nov. 1, 2012) . In addition, notice of the sale must be



                                           12
     Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 13 of 25



"sent by registered mail" to the mortgagor at least 14 days prior

to the day of the sale. Id.

     In addition, after the foreclosure sale, the mortgagee must

record with the registry of deeds a copy of the notice of sale

that it published, as well as an affidavit concerning the sale.

See M.G.L.    c.   244   §15   (eff.   Jan.   11,   1995).   If   the   recorded

affidavit "shows that the requirements of the power of sale and of

the statute have in all respects been complied with, " the affidavit

serves as admissible evidence "that the power of sale was duly

executed."   Id.


     Defendants argue they are entitled to summary judgment on

plaintiffs' Count VII because their recorded affidavit of sale
establishes a prima facie case that they have complied with the
statutory requirements for conducting a foreclosure by power of
sale, including the notice requirements of §14, and that plaintiffs
have failed to rebut this evidence. Defendants are correct that a

mortgagee "may make a prima facie showing of its right to
possession by producing an attested                 copy of       the   recorded
foreclosure deed and affidavit of sale." Fed. Nat. Mortg. Ass'nv.

Hendricks, 977 N.E.2d 552, 555 (Mass. 2012). A recorded affidavit
of sale that is in the form provided by M.G.L.                    Chapter 183,

Appendix Form 12,        or that otherwise complies with the more
particularized affidavit requirements of §15, serves "as prima



                                       13
     Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 14 of 25



facie evidence of compliance with [the notice requirements of]

§14." Id.   at 555-58.

     The recorded affidavit of sale "is not conclusive proof of

compliance with .         .    . §14," however.       Id. at 558-59. Once the

mortgagee presents a prima facie case that it complied with §14

before foreclosing, it is "incumbent" on the mortgagor to "counter

with his own affidavit or acceptable alternative demonstrating at

least the existence of a genuine issue of material fact to avoid

summary     judgment against           him."    Id.   at   559.   Accordingly,   in
Hendricks, the SJC held that the mortgagee Fannie Mae was entitled

to summary judgment because it submitted an affidavit of sale in
the statutory form, demonstrating prima facie compliance with §14,
and the plaintiff "did not controvert Fannie Mae's showing with
his own affidavit or some acceptable alternative." Id.

     Here, the defendants have produced a recorded affidavit of

sale that is in the statutory form. Compare M.G.L. c. 183, App'x

Form 12, with Defs. Mem. in Support of Mot. to Dismiss, Ex. C
(Docket     No.   20-3)       at   3   ("Affidavit of       Sale") .   The parties
stipulated that U.S. Bank recorded this Affidavit of Sale on
October 20,       2015,   which "recited the actions it undertook in
conducting the [April 24, 2015] foreclosure." Joint Stip. of Facts
11^6-8. The Affidavit of Sale states, among other things, that
plaintiffs' mortgage was in default; that U.S. Bank published a
notice of sale in the MetroWest Daily News on January 12, 19, and


                                           14
     Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 15 of 25



26, 2015; and that U.S. Bank "complied with Chapter 244, Section
14 . . . as amended, by mailing the required notices by certified

mail." Affidavit of Sale; see Joint Stip. of Facts HHS-ll. The

notice of sale attached to the Affidavit of Sale states that the

auction would be held February 2, 2015 on the property, although,

as explained below, it was postponed several times. See Defs. Mem.
in Support of Mot. to Dismiss, Ex. C (Docket No. 20-3) at 4 ("Notice
of Sale"); Joint Stip. of Facts 1|ll.

     Therefore, by submitting an Affidavit of Sale in the statutory

form defendants have demonstrated prima facie compliance with the

§14 notice requirements. See Hendricks,        977 N.E.2d at 559. To

prevent   summary   judgment   from being      entered   against       them,
plaintiffs must produce evidence demonstrating a genuine dispute
of material fact concerning defendants' compliance with §14. See

id. Plaintiffs have failed to do so.

     As noted earlier,     the Affidavit of Sale states that the

defendants published the Notice of Sale in the MetroWest Daily
News on January 12, 19, and 26, 2015, and mailed notice of the
sale to the plaintiffs by certified mail. See Joint Stip. of Facts
          These are acts which would satisfy §14. Plaintiffs now

claim that they "dispute [] " that U.S. Bank published the Notice of
Sale and mailed notice to them. Resp. to Defs. Statement of Facts




                                   15
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 16 of 25



1l1|7-8. However, they cite no evidence to support their assertions.®

Moreover, after reviewing the record, the court concludes that no

reasonable    factfinder could conclude       that defendants     failed to

comply with the §14 notice requirements.

        Plaintiffs stated in their First Amended Verified Complaint,

which they incorporated into their joint affidavit, that "[n]otice
of the purported foreclosure sale was published in the Metrowest

Daily News on January 12, 2015, January 19, 2015 and January 26,

2015." Compl. 1|3 9; Pltfs. Aff. Hi. They subsequently testified
that: "We believe that Defendants are truthful when stating that

they published on January 12, 2015, January 19, 2015 and January
26, 2015 notice of its foreclosure sale scheduled for February 2,

2015,    in the MetroWest Daily News. However,          we never saw the
publication." Pltfs. Aff. HlO/ see also id. 1Il4 (acknowledging




6 Plaintiffs cite no evidence in support of any of their assertions,
in their Response to defendants' Statement of Material Facts, that
certain facts are "disputed." S^ generally Resp. to Defs.
Statement of Facts (Docket No. 52, Ex. A). Therefore, the material
assertions in defendants' Statement of Facts (Docket No. 51) may
be deemed admitted pursuant to Rule 56.1 of the Local Rules of the
District of Massachusetts. Rule 56.1 states that "[m] aterial facts
of record set forth in the statement required to be served by the
moving party will be deemed for purposes of the motion to be
admitted by opposing parties unless controverted by the statement
required to be served by opposing parties," which "shall include
a concise statement of the material facts of record as to which it
is contended that there exists a genuine issue to be tried, with
page      references     to    affidavits,      depositions     and       other
documentation." L.R. 56.1 (emphasis added).

                                      16
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 17 of 25



"the notice of sale that was published in the MetroWest Daily

News").    In addition,        plaintiffs state that           "[d]efendants never

sent us or mailed notices of the foreclosure sale by certified

mail, return receipt requested. We know that is the case as we

never received them." Id. 1|9.

       However,    there is no requirement that plaintiffs must have

seen the published notices in order for the defendants to have

complied with §14. See Hull v. Attleboro Sav. Bank, 596 N.E.2d

358,   362   (Mass.     App.     Ct.    1992).     Moreover,    "the     fourteen-day

registered mail notice requirement is satisfied by mailing and
nonreceipt    is      irrelevant."       Id.     (emphasis     added).     "The    main
purpose"     of     both       the     newspaper     publication       and    mailing
requirements "is to provide notice to those affected by the
foreclosure       sale and to facilitate proof of notice."                   Id.    The

Massachusetts Appeals Court held in Hull that these purposes "were

fully achieved" when the plaintiff "had actual notice of the sale
at least seven days before the scheduled [sale] date." Id.

       In this case, the undisputed evidence shows that plaintiffs

had actual notice of the impending February 2, 2015 sale at least

a month earlier. They attested in their First Amended Verified
Complaint that U.S. Bank sent them a letter dated January 2, 2015,
"threaten[ing] to foreclose upon the Property on February 2, 2015."

Compl. 1l36; Pltfs. Aff. 1|l. Plaintiffs also alleged under oath
that after plaintiffs contacted the defendants "in an effort to

                                           17
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 18 of 25



negotiate     the    matter,"    defendants     "agreed    to    postpone   the

foreclosure scheduled for February 2,           2015 in order to consider

the Homeowners[']         application for a loan modification." Compl.

H1138, 40. Therefore, plaintiffs have admitted that they were aware

a month before of the sale scheduled for February 2, 2015, which

is   sufficient      to    demonstrate    compliance      with   §14's   notice

requirements. See Hull, 596 N.E.2d at 362.

     Having attested in their First Amended Verified Complaint

that the notices were published and that they knew about the

February 2, 2015 sale, plaintiffs cannot now "manufacture a dispute

of fact by contradicting . . . earlier sworn testimony." Abreu-
Guzman v. Ford, 241 F.3d 69, 74 (1st Cir. 2001). Moreover, even if

they did not see the publications or do not recall receiving notice
in the mail,        such facts    are    "irrelevant,"    particularly where

plaintiffs had actual notice of the impending February 2, 2015
sale. Hull, 596 N.E.2d at 362. Therefore, no reasonable factfinder

could conclude that plaintiffs have rebutted the defendants' prima
facie evidence of compliance with both the publication and mailing
requirements of §14 before the initial auction scheduled for
February 2,    2015.

      Nevertheless,        plaintiffs contend that there is a genuine

dispute concerning defendants' compliance with §14 because the
foreclosure sale was postponed several times, and according to

plaintiffs,     the       defendants    did   not   properly     announce   the

                                         18
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 19 of 25



postponements. Plaintiffs concede, however, that defendants were

not    required    to     re-publish and re-send         them notices      of    the

postponements in order to comply with §14. See 0pp.                    {Docket No.

52)    at 9.   In Fitzgerald v.        First National Bank of Boston,             the

mortgagors       argued    that    the mortgagee       failed   to    comply with
statutory requirements for conducting a foreclosure by power of

sale, including §14 notice requirements, because it postponed the

sale by public announcement at the action site, and did not provide
additional written notice and publication. See 703 N.E.2d 1192,

1194    (Mass.    App.     Ct.    1999).   The Massachusetts         Appeals    Court

rejected this argument, explaining that:

       It has long been accepted practice in Massachusetts
       that, while details of the initial auction must be
       provided by written notice to the appropriate parties
       and published in a newspaper . . . a postponement of the
       sale may be announced by public proclamation to those
       present at the auction site,               particularly when the
       adjournment is requested by the mortgagor. . . . It was
       appropriate in this case for the bank to continue the
       sale by public proclamation at the time and place of the
       scheduled auction, where that auction was properly
       noticed and advertised in the first instance . . . and
       where     the postponement was           made   to accommodate      the
       mortgagors. Apart from the statutory requisites, to
       which the mortgagee must strictly adhere, questions
       regarding notice of foreclosure proceedings will
        continue to be viewed according to the criteria set forth
        in our cases, rather than under any hard and fast rule,
        in light of the mortgagee's general obligations of good
        faith, diligence, and fairness in the disposition of the
       mortgaged property.

Id. at 1194-95 (emphasis added). Therefore, if the defendants did
not publish or mail notice of any the postponements, any such


                                           19
      Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 20 of 25



failures would be immaterial because they were not required to do

so to comply with §14.

      Plaintiffs argue, instead, that there is a genuine dispute

concerning whether defendants actually postponed the             sale by

"piiblic proclamation." Public proclamation is a permissible way to
provide notice of a postponement after §14 has been satisfied with
respect to the "initial auction." Fitzgerald, 703 N.E.2d at 1194-

95. This is "particularly" true where, as here, the postponement

was at the request of the mortgagors to allow plaintiffs to submit
an application for a loan modification, which they state they
completed on April 9, 2015. See id. ; Compl. ^^40, 45.
      Defendants submitted the following evidence to prove that

they publicly announced the postponements. The Affidavit of Sale
states that the auction, originally scheduled for February 2, 2015,

was   "postponed   by    public    proclamation"   several    times.    See
Affidavit of Sale. It also states that "at the time and place

therein appointed" in the published notice, meaning on February 2,
2015, the sale was postponed to February 9, 2015; on February 9,
2015, it was postponed to March 12, 2015; and on March 12, 2015,
it was postponed to April 24, 2015. See id.; Joint Stip. of Facts
5[11l3-14.   Defendants also      submitted an affidavit      of Theresa
Gravlin, Auction Director of Towne Auctions ("Towne"), stating
that Towne publicly announced the postponements at the property.



                                     20
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 21 of 25



which corroborates the Affidavit of Sale. See Gravlin Aff.                    (Docket

No. 49-2) 1I1I5-8.

       Plaintiffs    counter    this    evidence    with    testimony        that   the

defendants "did not . . . postpone the sale by public proclamation"

on any of those dates because they "did not see anyone engaging in
such   action."      Pltfs.    Aff.    1l1|ll-13;   see    Joint     Stip.    1|1|28-29

(stipulating plaintiffs have no other evidence that defendants

failed   to   publicly postpone          the   foreclosure         sale).    However,

plaintiffs' affidavit does not create a genuine dispute of material
fact because a party cannot "manufacture a dispute of fact by

contradicting . . . earlier sworn testimony." Abreu-Guzman, 241

F.3d at 74. In their First Amended Verified Complaint, plaintiffs

previously attested that the February 2, 2015 sale was postponed,
and also that there was a public postponement on at least February

9, 2015. See Compl. 1|1|40-41. Therefore, the affidavit plaintiffs
filed in support of their opposition to the Motion for Summary
Judgment is insufficient to create a genuine dispute concerning
whether the postponements were publicly announced.

       Moreover,     even accepting as true           the assertions           in the
plaintiffs'    affidavit,       a possible dispute concerning whether
defendants failed to publicly proclaim the postponements would not
constitute a violation of §14 and, therefore, is not material.
While defendants must "strictly adhere" to the publication and
mailing requirements of §14,               after the statutorily required

                                          21
        Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 22 of 25



notices        are    provided,     questions         concerning     the    mortgagee's

subsequent conduct during foreclosure proceedings are viewed "in
light of        the mortgagee's general obligations of good faith,
diligence,       and fairness."           Fitzgerald,      703 N.E.2d at 1195. The

Massachusetts Appeals Court explained in Pemstein v.                            Stimpson

that:


        [i] f the statutory norms found in G.L. c. 244, §§11-17B,
        governing foreclosure of real estate mortgages,                        have
        been     adhered     to,   Massachusetts        cases     have    generally
        regarded that as satisfying the fiduciary duty of a
        mortgagee to deal fairly with the mortgaged property,
        unless the mortgagee's conduct manifested fraud, bad
        faith,       or the absence of reasonable diligence in the
        foreclosure sale process.

630 N.E.2d 608, 611 (Mass. App. Ct. 1994)                       (citing cases in which

mortgagees violated their obligations by demonstrating "bad faith
or failure of diligence               .     .   .    of an active and conspicuous

character").           Therefore,     although         public     proclamation     is     a

permissible way to postpone a sale,                        it is not required.          See
Stephens-Martin v. Bank of N.Y. Mellon Tr. Co. , 2015 WL 732087, at

*12     (Mass.        Land   Ct.    2015)       (finding    at    trial     that   public
proclamation was made, but noting that "there is not even any hard
and fast requirement for a public proclamation to have been made,"
and the burden is on plaintiffs to prove mortgagor acted in
commercially unreasonable manner in postponing the sale). Thus,
fallur© to publicly proclaim a postponement does not necessarily




                                                22
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 23 of 25



violate    a   mortgagee's   obligations      to   deal   fairly     with   the

mortgagors in the foreclosure process. See id.

       Here,   plaintiffs only assert in a conclusory manner that

defendants "did not act diligently and in good faith with us when

performing the foreclosure sale by failing to use due diligence

and follow the required statute." Pltfs. Aff. 1|15. This assertion

of    bad faith and     lack of   diligence   based solely on statutory

noncompliance is negated by the fact that defendants did comply

with §14, as explained earlier. See Pemstein, 630 N.E.2d at 611.

Defendants' compliance with §14 was complete when it published

three times and mailed the notices of February 2, 2015 sale. S^

M.G.L. c. 244 §14. There is no additional evidence of bad faith

conduct or lack of diligence concerning the foreclosure process.

In any event, even if a factfinder could conclude that defendants
failed to exercise reasonable diligence or exhibited bad faith

with respect to the postponements, such conduct would not violate
§14    because,    as    explained   earlier,      §14    does     not   govern

postponements. See Fitzgerald, 703 N.E.2d at 1194-95; Stephens-
Martin, 2015 WL 732087, at *11 (holding that although mortgagees
must "strictly adhere to . . . §14, with regard to publishing for




                                      23
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 24 of 25



three consecutive weeks and notice to the mortgagee by registered

mail," there is no statute addressing postponements)

       Therefore, plaintiffs have failed to raise a genuine dispute

of    material   fact   concerning    whether   defendants   complied with

Chapter 244 §14 before conducting the foreclosure sale of their
property on April 24, 2015. Defendants' Affidavit of Sale in the
statutory form provides prima facie proof of compliance with the

publication and mailing requirements of §14, and plaintiffs have

failed to introduce evidence sufficient to make this issue triable.

Because    no    reasonable    factfinder    could   conclude   defendants

violated §14, defendants are entitled to summary judgment on Count

VII.




     Plaintiffs' First Amended Verified Complaint included a claim
for "improper foreclosure [and] breach of [the] duty of good faith
(Count VI), based on defendants' alleged failure to properly
consider their application for a loan modification. Compl. ^^101-
07. This claim was dismissed. Plaintiffs have not asserted a claim
that the foreclosure sale is void because defendants acted
unreasonably or in bad faith when postponing the sale. They only
assert    that   the    foreclosure   sale   is void because    defendants
violated §14 by allegedly not publicly                   proclaiming     the
postponements (Count VII). See id. KflllO-16.

                                       24
       Case 1:15-cv-12359-MLW Document 56 Filed 09/27/18 Page 25 of 25



III.   ORDER


       For     the   foregoing   reasons,   it   is   hereby   ORDERED   that

defendants' Motion for Summary Judgment (Docket No. 49) is ALLOWED.

Judgment shall enter for the defendants.




                                            UNlTElK STATES DISTRICT JUDGE




                                       25
